Case 1:03-md-01570-GBD-SN Document 4685-2 Filed 07/16/19 Page1of3

EXHIBIT B
Case 1:03-md-01570-GBD-SN Document 4685-2 Filed 07/16/19 Page 2 of 3
Case 1:18-cv-11875-GBD-SN Document 14 Filed 0382740. J
DOCUMENT

ELECTRONICALLY FILED

UNITED STATES DISTRICT COURT DOC #
SOUTHERN DISTRICT OF NEW YORK DATE FILED:
Jimenez, et al.

Plaintiff(s)

-V- CERTIFICATE OF MAILING

Islamic Republic of Iran Case No.: 1:18-cv-11875 (GBD) (SN)

Defendant(s)

Thereby certify under the penalties of perjury that on the 27. day of _March , 2019 _,T served: the

Islamic Republic of Iran, c/o H.E Mohammad Javad Zarif, Minister of Foreign Affairs, Minister of

Foreign Affairs of the Islamic Republic of Iran, Iman Khomeini Avenue, Tehran, Iran.

O the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)(ii).

L the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

x the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRI), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

LJ the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C, § 1608(b)(3)(B).

2 copy(ies) of the Summons, Complaint filed on December 17, 2018, Civil Cover Sheet, Notice
of Suit prepared in accordance with 22 CF § 93.2 with a copy of 28 USC 1330, and Affidavit of translator
(along with translations of all the above documents). by Federal Express #860665427362.

Dated: New York, New York

03/27/2019 Noy
iy SF sf ty

ates er My
RugWJ, KRANCK re Laat Wek
CLERK oF Soper, Mat

CLE 4

“A

Bdreséa Rural ay
aes ni ny?

Pree di

Case 1:03-md-01570-GBD-SN Document 4685-2 Filed 07/16/19 Page 3 of 3
Case 1:18-cv-11875-GBD-SN Document 14 Filed 03/27/19 Page 2 of 2

ABS W! +65 on . 5
epics aa, ange a Us armas 9 Guo 7o
en ieiace aon vo paciccaegs yn ha ai ree
O25] “Eee TEER ea Vo
ms edsiortnm sgogeig emeubis Aronyjog ]eNuepIseY AL7V_8
Ag en 13P%4 ee aa ramet apap asa meer mee My
or $ 3
diz nas Sutuse %
sa pupa OL WPM PL soley FOL 0ZS0Z% oa uoq _ MH
TYR i as in

% b ~ho hS rs CS C QD = MN 302238 9D TOZZ Saippy
j te morieesnocyraieg Sop08 FIZ Wd 19 SS Vi Oh pe ee a =h
ypoupaseg []  plegepen [| fpegpau [| wardioou [| apes (_] z

pay ype A i S say
é L___— ja oy peg pag a ON By woukeg f 721g Fo quseg ada? sf VS squau g
S App yenaty 08:63 [“] meaner eee 5
= , semsika D1] st Cj mers oN Claosett Anuesy-iequy pue MeTAqy ADTTOd FO POTFFO mas s
2 ‘ RSH HEE ADGA .
: a . a ee BEN o
= “yeu lege map 0 Daas a ae 3
z imeteeenea 2p SERSHEA LOW ees OTT6-9E2 20% gatas reqTnsug) 42 FO ReIG1358 ae B
= imme] RASC) macys C1 soo ts
2 Seaplane Guypuey jeads 9 72h s-LYTTOT eouarajay BUIfiG JEW] 100, 2
c TEENS Ee seg Apeeyrcey poreg eras 4 s
= og Repay Se aa dz ans -_ B
2 mae [| rei [] xgped [| we whed Xaped [| xapea [[] 10001 it yIOL N =
~ Buibeyseg x am 8

Yao oul gC avkeyv —_
yok MON FO FOTIISTC uzeyANnos
( youn yaindg JOFAISTC “SA, EN
yotfesy “re Aqny *34n09 eua FO APT
saquny wnoIsy meg
6-7OYS-E8Z9 —*aR2d SPURS preuiencn un |

ssaidg

